             EXHIBIT E




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                                                                                                    Directors of Cosec Services Ltd                                                                                                                                                                                                                                          Company Secretary of Belphar Ltd and Alif Capital Holdings




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Created for the purposes of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         making 'the recommended
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         cash offer for Pan Chemicals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Ltd



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                                                                          Andrew Pike                                                                                                                                                                                                                                                                                        KS Holding Group                                         erly                  Belphar Ltd                                     Alif Capital Holdings




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       Husband of DM                                                                                                                                                                                  Burlingtons Kazakhstan                      Un                                                                                                                                                                                                         University friends - Shakidi
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       and director of                                                                                                                                                                                                                               kno
                                                                                                                                                                                                                                                         wn                                                                                                                                                                                                  contracted Mirakhmedov into
       Cosec Services                                                                                                                                                                                                                                         join
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       Ltd                                                                                                                                                                                                                                                               ntu




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                                               Azima previously                                                                                               I A   v                                                                                                                                                                                                                                                                                                                                                                                          Former CEO of
                                                                                                                                                        t RAK
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                                               brought in to                                                                                       ay a                                                                                                                                                                                                                                                                                                                                                                                                        RAKIA - convicted in
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                                               negotiate settlement                                                                      ev e                                                                                                                                                                                                                                                                                                                                                                                                                  abstentia of
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(continues right hand                          between KM &                                                                  r ese                                                                                                                                                                                                                                                                                                                                                                       between V12 & RAK                                     embezzlement
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side of chart)                                 RAKIA                                                                                              Client of Maltin PR                                                                   Client of Maltin PR                                                                                                                                           Legal Representatives                                 Legal Representatives                        Hotel Holdings Ltd.


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                                                                                                                                                                                                                                                                                                                                                                                                                                                   EN                                                                          investigation RE                   Rakia v Farhad
                                                                                                                                                                                                                                                                                                                                                                                                                                                 pa C  R                                                                       Massaad
                                                                                                                                                                                                          Maltin paid RS for                                           'News' website                                                                                                                                                              s
                                                                                                                                                                                                                                                                                                                                                                                                                                               inf ed laim
                                                                                                                                                                                                                                                                                                                                                                                                                                                     s      c                                                                                                     Azima
                                                                                                                                                                                                          raising profile of KAS                                                                                                                                                                                                                  o-             s                                                             embezzlement
                                                                                                                                                                                                                                                                       created & owned                                                                                                                                                                     S
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           Potomac Square Group                                              Miller & Chevalier                                                                                                                                                                                                                                                                         Journalist contracted by                                                                    Co ial
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                                                                                                                                                                                                                                                                                                                                                                        Maltin PR- writes pieces RE                                Investigated                            t*
                            CEO                                                                           Lawyer                                                                                                        Stokoe Partnership                                                                                                                              Maltin PR clients & their                                  by SFO
                                                                                                                                                                                                                                                                                                                                                                        adversaries
                                                                                                                                                                         Radha Stirling                                                                       Bambos Tsiattalou
                                                                                                                                                                                                                                                                     Founding Partner
                                                                                                                                                                                                                                                                     of Stokoe
                                                                                                                                                          Husband
                                                                                                                                                                                                                                    Work associate                   Partnership and
                                                                                                                                                                                                                                                                     lead on KAS case
                                                                                                                                                                                                                                                                                                                                                                                        Wrote a supportive piece
                                                                                                                                                                                                                                                                                                                                                                                        for convicted trader Tom
                                              Brought in by FA
                                                                                                                                                                                                                                                                                                                                                                                        Hayes                                                                                                                  * ENRC alleges a lawyer it
                                              to to “make it
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               hired to conduct an internal
                                              politically
                                                                                      Kirby Behre                                                      Shaheed Bolson                                                               Barry Ley                                                                        Dominic Carmen                                                                                                                                                         Neil Gerrard       investigation after a                David Hughes
               Chris Cooper                   unsustainable” for                                                                                                                                                                                                                                                                                                                                                              Tom Hayes                                                                        whistleblower made claims
                                              the investigation                                                                                        An islamic issues blogger writing on very
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               of fraud and corruption,
                                              into Massaad &                                                                                           controversial illiberal topics. Previously                      LoE evidence reveal the real MO of Detained In Dubai
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               passed confidential
                                              Azima to continue                                                                                        convicted of murder. (See Dramatis                              - not an NGO fighting for justice but a for-profit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               information to senior
                                                                                                                                                       Personae for more details)                                      practice in disguise. (NB: RS is not a qualified solicitor.)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               officials at the SFO

                                  Security Assessment: CC & KB                                                                                                                                                                                                   Al-Sadeq brings claim against Neil Gerrard & David
                                  provide FA with recommendations                                         CC & KB sought use of UK                                                                                                                               Hughes claiming the latter 'tortured' him in a UAE prison.
                                  on how to sow 'discontent' and                                          journalist to torment Neil
                                  initiate protests in the UAE emirate.                                   Gerrard
                                                                                                                                                                                                                                                                                  Case 1:21-mc-00006-UA-LPA Document 6-5 Filed 05/12/21 Page 2 of 2
